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  US District Court 401 Courthouse Square, Alexandria, VA 22314             uuw.us DisTR'cmiTr-
                                                                       L.     ALFVAV'np;/.
  Vient, Plaintiff vs. Gannett Co.,Inc., Defendant Case: 1:18:CV1562


  Motion to Amend Complaint

  Pro-se Plaintiff Benjamin Vient Motions here to the Court to Amend the
  Complaint to reflect Defendant's factual uses of Plaintiff's works. Rule 15 {a)(2)
  states: "A party may amend its pleading only with the opposing party's written
  consent or the court's leave. The court should freely give leave when justice so
  requires."

  Discovery Documentation evidences Defendant has infringed upon all of Plaintiff's
  works listed in the Complaint. (TX0008S87743, TX0008587772, TX000858970S.)
  In evidence being submitted contemporaneously here with the Motion to Correct
  Defendant's Discovery Record, it appears Florida Today has distributed 62 of
  Plaintiff's works with a ProQuest/US Newsstream, with a date listing of 2017-11-
  23. Plaintiff has no such agreement for his works.

  Pro-se Plaintiff is using the mail to submit this Motion, and is uncertain if
  Defendant will respond with additional Discovery information in the meantime,
  but makes this Motion to Amend Complaint with these additional facts.


  Respectfully submitted,


  Benjamin Vient, PlaintiffPro-Se
  CERTIFICATE OF MAILING I HEREBY CERTIFY that on 2020, per
  previous agreement between parties to use designated email addresses, I sent a
  true and correct copy ofthe foregoing to Laurin Mills at laurin@,samek-law.com.



  Benjamin Vient
